
ORDER
This case was initially decided by this Court on February 10, 1992 by published opinion found at 956 F.2d 468. On March 18, 1992 this Court granted appellees’ petition for rehearing and suggestion for rehearing in banc. The granting of rehearing in banc vacated the previous panel judgment and opinion pursuant to this Court’s Local Rule 35(c). On June 1, 1992 this Court granted the parties’ stipulation of dismissal pursuant to Rule 42(b) of the Federal Rules of Appellate Procedure. As a result of settlement pending the outcome on appeal, we hereby vacate as moot the judgment of the district court. See United States v. Munsingwear, 340 U.S. 36, 71 S.Ct. 104, 95 L.Ed. 36 (1950); Kennedy v. Block, 784 F.2d 1220 (4th Cir.1986).
Entered at the direction of Chief Judge ERVIN with the concurrence of Circuit Judge PHILLIPS and Circuit Judge WILKINSON.
